
This is an appeal from the determination of deficiencies in income tax for the calendar years 1919, 1920, and 1921, in the amounts, respectively, of $562.20, $178.40, and $92, arising from the disallowance by the Commissioner of deductions for alleged entertaining expenses in the amounts of $3,200 for the year 1919, $2,500 for the year 1920, and $1,800 for the year 1921. No credible evidence was introduced to prove that these expenditures were actually made for the purposes alleged.
FINDINGS OF FACT.
The taxpayer is a resident of New York City and an officer of the Manhattan Paper Co., Inc.
During a portion of each of the years involved he traveled for the corporation, paying his own expenses without reimbursement. In his income-tax returns he deducted, as alleged expenses of entertaining customers, $3,200 for the year 1919, $2,500 for the year 1920, and $1,800 for the year 1921.
DECISION.
The determination of the Commissioner is approved.
